394 F.2d 986
    68-1 USTC  P 15,848
    UNITED STATES of America, Appellee,v.Emilio PIZZARELLO, Appellant.
    No. 537, Docket 30658.
    United States Court of Appeals Second Circuit.
    May 22, 1968.
    
      ON REMAND FROM THE UNITED STATES SUPREME COURT.
      Before FRIENDLY, HAYS and ANDERSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A judgment of conviction after jury verdicts of guilty in the United States District Court for the Southern District of New York for violations of the federal wagering tax laws, 26 U.S.C. 4401, 4411, 4412 and related sections, was affirmed by this court on November 17, 1967, 386 F.2d 177.  Subsequently the Supreme Court of the United States, 390 U.S. 204, 88 S.Ct. 899, 19 L.Ed.2d 1035, granted certiorari and after considering the case vacated the judgment of this court and remanded the case for further consideration in the light of Marchetti v. United States, 390 U.S. 39, 88 S.Ct. 697, 19 L.Ed.2d 889 (1968) and Grosso v. United States, 390 U.S. 62, 88 S.Ct. 709, 19 L.Ed.2d 906 (1968).  In compliance therewith the judgment of this court and the mandate issued pursuant to it were vacated on April 1, 1968.
    
    
      2
      The case is now remanded to the United States District Court for the Southern District of New York with direction that judgment of acquittal be entered.
    
    